            Case 1:24-cv-02789-PLF Document 19 Filed 10/21/24 Page 1 of 1




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 AMERICAN OVERSIGHT,

                  Plaintiff,

           v.                                              Civil Action No. 24-2789 (PLF)

 DEPARTMENT OF DEFENSE, et al.,

                  Defendants.


                                     [PROPOSED] ORDER

          UPON CONSIDERATION of Plaintiff’s Motion for a Preliminary Injunction (ECF No.

8), and the entire record herein, for the reasons stated in the Court’s October 21, 2024, hearing, it

is hereby

          ORDERED that Plaintiff’s Motion for a Preliminary Injunction is GRANTED; and it is

further

          ORDERED that Plaintiff’s request for expedited processing is GRANTED. Defendants are

ordered to process Plaintiff’s August 29, 2024, Freedom of Information Act request and make their

production of responsive, non-exempt records by October 25, 2024.

          SO ORDERED.


Date: ________________________                        ____________________________________
                                                      PAUL L. FRIEDMAN
                                                      United States District Judge
